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                                UNITED STATES DISTRICT COURT
                                    Northern District of Illinois
                                    219 South Dearborn Street
                                      Chicago, Illinois 60604

Thomas G. Bruton                                                                      312-435-5670
Clerk


Date March 3, 2025


Carl V. Malmstrom
Wolf Haldenstein Adler Freeman & Herz LLC
111 W. Jackson Blvd. Suite 1700
Chicago, IL 60604


RE: Foster v. Service Sanitation, Inc.
USDC Case Number: 25cv2101

Dear Counselor:

The records of this office indicate that on 2/28/25 a notice of removal pursuant to 28 USC 1441
et seq. was filed with this court in connection with the above referenced matter. The notice lists
the circuit court case number as 2025CH00666. The documents filed with the notice of removal
list you as counsel for the plaintiff.

The purpose of this letter is to inform you that the Local Rules of this Court require that an
appearance form be filed by an attorney who intends to represent a party in any proceeding
before this Court. For your convenience, a copy of this form is located on the District Court
website at http://www.ilnd.uscourts.gov/OnlineForms.aspx.

                                              Sincerely,
                                              Thomas G. Bruton, Clerk

                                              By: /s/N. Finley
                                                 Deputy Clerk



Enclosure




Rev. 09/23/2016
